Case 2:22-cv-04953-BMS Document 5-11 Filed 12/19/22 Page 1 of 2




            EXHIBIT G
                        Case 2:22-cv-04953-BMS Document 5-11 Filed 12/19/22 Page 2 of 2




From:                                            George M. Vinci Jr. <gvinci@sgrvlaw.com>
Sent:                                            Thursday, December 8, 2022 3:06 PM
To:                                              Krabill, Laura E. (Phila)
Cc:                                              Antonelli, Marisa; Neal R. Troum; Charlson, Michael; Goldberger, M. Norman (Phila);
                                                 King, Jr., Adrian R. (Phila); Summers, Shawn (Phila)
Subject:                                         RE:



⚠ EXTERNAL
As we discussed please advise the court that we just received your letter and, as agreed, will respond to your letter
tomorrow. As I advised, Michael is at a funeral.


                                  George M. Vinci Jr., Shareholder & Director
                                  Spector Gadon Rosen Vinci P.C.
                                  T +1 215-241-8840
                                  F +1 215-531-9128
                                  E gvinci@sgrvlaw.com



www.sgrvlaw.com                   1635 Market Street, 7th Floor, Philadelphia, PA 19103

This communication including attachments, may contain information that is confidential and protected by the attorney/client or
other privilege. If you are not the intended recipient of this communication, or if you believe that you have received this
communication in error, please notify the sender immediately and kindly delete this email, including attachments, without
reading or saving them in any manner.
IRS Circular 230 Disclosure: To ensure compliance with U.S. Treasury Regulations governing tax practice, we inform you that,
unless expressly indicated otherwise, any federal tax advice contained in this communication (including attachments) was not
written to be used for and cannot be used for (i) purposes of avoiding any tax-related penalties that may be imposed under
Federal tax laws, or (ii) the promotion, marketing, or recommending to another party of any tax-related transaction or matter
addressed herein.


From: Krabill, Laura E. <KrabillL@ballardspahr.com>
Sent: Thursday, December 8, 2022 1:49 PM
To: George M. Vinci Jr. <gvinci@sgrvlaw.com>
Cc: Antonelli, Marisa <mantonelli@velaw.com>; Neal R. Troum <ntroum@sgrvlaw.com>; Charlson, Michael
<mcharlson@velaw.com>; Goldberger, M. Norman <GoldbergerM@ballardspahr.com>; King, Jr., Adrian R.
<KingA@ballardspahr.com>; Summers, Shawn <SummersS@ballardspahr.com>
Subject: RE:

{EXTERNAL EMAIL} This message originated outside of your organization.
George, Michael and Marisa:

Per our discussion with the judge’s chambers yesterday, attached is a draft letter to the Court regarding scheduling of
the PI response and hearing. Please insert your portion and return to us. We will plan to have this hand delivered today
before the close of business. Thank you.

Laura


                                                                                      1
